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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )      CRIMINAL ACTION NO.
                                   )        2:95cr202-MHT
EDDIE LYONS                        )             (WO)

                                 ORDER

    Upon an independent and de novo review of the record,

including     the    recommendation        of    the    Retroactivity

Screening Committee, which is adopted, it is ORDERED that

defendant Eddie Lyons’s motion for reduction of sentence

(doc. 1327) is denied.

    The United States Sentencing Commission’s retroactive

amendment to the federal sentencing guidelines applicable

to criminal cases involving cocaine base or crack cocaine

does not apply to Lyons’s guideline sentence because it

was not based on any crime involving cocaine base or

crack cocaine.      Lyons is ineligible under the retroactive
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amendment    because     he   was    held   accountable       only       for

cocaine hydrochloride and heroin.

    DONE, this the 23rd day of September, 2008.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
